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    Mark S. Lichtenstein                                          John H. Thompson
    AKERMAN LLP                                                   AKERMAN LLP
    1251 Avenue of The Americas, 37th Floor                       750 Ninth Street, N.W., Suite 750
    New York, New York 10020                                      Washington D.C. 20001
    Tel. No. (212) 880-3800                                       Tel.: (202) 393-6222
    Fax No. (212) 880-8965                                        Fax: (202) 393-5959


Proposed Counsel to the Debtor and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                 )            Chapter 11
                                                       )            Case No. 22-10328 (MEW)
BUYK CORP.1                                            )
                                                       )
           Debtor.                                     )


                                  AUCTIONEER’S REPORT OF SALE

           NOW COMES Michael Amodeo, as auctioneer (the “Auctioneer”) and files this report

of sale (the “Report”) in accordance with Rule 6004-1(f) of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Bankruptcy Rules”). In support thereof, the

Auctioneer states as follows:

           In accordance with Local Bankruptcy Rule 6004-1(g), attached hereto as Exhibit 1 is the

Affidavit of Michael Amodeo in Support of this Report (the “Affidavit”).

           Pursuant to the Order Granting Debtor’s Emergency Motion to (I) Approve Asset Sale

Via Auction; and (II) Sell Property Free and Clear of All Liens, Claims, And Encumbrances (the




1The Debtor in this case, along with the last four digits of its federal tax identification number is Buyk Corp. (1477).
The principal place of business for the Debtor is 360 West 31st Street, Floor 6, New York, NY 10001.


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“Sale Order”) [ECF No. 46], an Auction2 of certain of the Debtor’s Assets located at 190 West

231st Street, Bronx, NY took place on March 27th, 2022 at 7:00 p.m. (prevailing Eastern Time)

at online sale. Local Bankruptcy Rule 6004-1(f)(1).

         The Auction yielded $35,042

         . Local Bankruptcy Rule 6004-1(f)(2).

         The Assets were sold in single lots. Local Bankruptcy Rule 6004-1(f)(3).

         The Auctioneer will not be charging for any insurance expenses. Local Bankruptcy Rule

6004-1(f)(5).

         No articles were withdrawn from the sale. Local Bankruptcy Rule 6004-1(f)(6).

         The name and address of the bidders are: Exhibit 2

Local Bankruptcy Rule 6004-1(f)(7).

         The Auction was attended by 50 registered Bidders. Local Bankruptcy Rule 6004-1(f)(8).

         All items were included in the sale. Local Bankruptcy Rule 6004-1(f)(9).

         The terms and conditions of the sale applicable to the Auction are attached hereto as

Exhibit 3. Local Bankruptcy Rule 6004-1(f)(10).

         Information regarding the Auctioneer’s marketing efforts are posts on the websites

HiBid.com, amodeoauctions.com, auctionzip.com, gotoauction.com, and Craigslist and the

auctioneer’s email list. Local Bankruptcy Rule 6004-1(f)(11).




2All capitalized terms not defined in this Report shall have the meanings ascribed to them in the Debtor’s
Emergency Motion to (I) Approve Asset Sale Via Auction; and (II) Sell Property Free and Clear of All Liens, Claims,
And Encumbrances [ECF No. 16].

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         Inspection of the items was available at 190 West 231st Street, Bronx, NY from 9:30 a.m.

to 4:00 pm. (prevailing Eastern Time) on March 27th, 2022. Local Bankruptcy Rule 6004-1(f)

(12).


Dated: April 4th, 2022                       AKERMAN LLP

                                             By:     /s/Mark S. Lichtenstein
                                             Mark S. Lichtenstein
                                             AKERMAN LLP
                                             1251 Avenue of The Americas, 37th Floor
                                             New York, New York 10020
                                             Tel. No. (212) 880-3800
                                             Fax No. (212) 880-8965
                                             E-Mail: mark.lichtenstein@akerman.com
                                                     -and-
                                             John H. Thompson
                                             AKERMAN LLP
                                             750 Ninth Street, N.W., Suite 750
                                             Washington D.C. 20001
                                             Tel.: (202) 393-6222
                                             Fax: (202) 393-5959
                                             E-Mail: john.thompson@akerman.com

                                             Proposed Counsel for Debtor and Debtor-in
                                             Possession




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                                  EXHIBIT 1

      AFFIDAVIT OF MICHAEL AMODEO IN SUPPORT OF THIS REPORT
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                                   EXHIBIT 2

                        NAME AND ADDRESS OF BIDDERS
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                                  EXHIBIT 3

                THE TERMS AND CONDITIONS OF THE SALE
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